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       EXHIBIT A
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                        IN THE UNITED STATES DISTRICT
                     COURT FOR THE DISTRICT OF COLUMBIA

  AHMED ALI MUTHANA, individually, and                     Cause No. _______
  as next friend of Hoda Muthana and Minor
  John Doe [initials A.M.]
  133 Pine Rock Lane, Hoover, AL 35226
         Plaintiff/Petitioner,                             CIVIL ACTION
          vs.

  Michael Pompeo, in his official capacity as
  Secretary of the Department of State, whose
  official address is 2201 C St., NW
  Washington, DC 20520;
  Donald J. Trump, in his official capacity as
  President of the United States; and
  William Pelham Barr in his official capacity
  as Attorney General.

          Defendants/Respondents.


                     DECLARATION OF AHMED ALI MUTHANA

I, Ahmed Ali Muthana, hereby declare under penalty of perjury and in accordance with 28 U.S.C.

§ 1746 the following:

1. I submit this declaration based on my own personal knowledge.

2. I am over the age of 18 and competent to testify to the facts recited below.

3. I am the father to Hoda Muthana and grandfather to Minor John Doe Muthana.

4. I worked as a diplomatic member of the Permanent Mission of Yemen to the United Nations

   from October 15, 1990 to June 1, 1994.

5. On June 1, 1994, I was terminated from that position.

6. On June 2, 1994, the Yemeni Ambassador Al-Aashtal required me to surrender my

   diplomatic identity card.
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7. My daughter Hoda Muthana was born on October 28, 1994, in New Jersey.

8. At the time of her birth I was not serving in a diplomatic position, and had not been for many

   months.

9. In 2004, I applied for a United States passport for my daughter Hoda Muthana.

10. I received a letter from the Department of State stating that the United States believed I had

   been a diplomat at the time of Hoda Muthana’s birth.

11. I responded that I had not, and provided a letter from the United States Mission to the United

   Nations, dated October 18, 2004, confirming that my diplomatic position had ended no later

   than September 1, 1994.

12. I provided the letter from the United States Mission to the United Nations to the United States

   Department of State, which then issued a United States passport to my daughter Hoda

   Muthana on January 24, 2005.

13. My daughter Hoda Muthana renewed her United States passport on or about February 21,

   2014.

14. She then flew to Turkey, and later arrived in Syria. I did not know in advance that she was

   taking this trip.

15. As a result of her second marriage in Syria, my daughter Hoda Muthana had a child, referred

   to herein as Minor John Doe. He was born on May 19, 2017.

16. On January 15, 2016, a letter addressed to my daughter Hoda arrived at my residence, from

   the United States government informing her that her passport had been revoked.

17. I responded that she was out of the country, but also reiterating what I had provided in 2004,

   and confirming the facts listed above as to when my diplomatic position ended (which was
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   (which was before Hoda was born).

18. Hoda and her son are. to the best ofmy knowledge, currently at Camp aJ-Hawl in yria.

19. 1 would like to send money to my daughter so that she and my grandson can return to the

   United States.

20. I asked the FBI if l could do this, and the FBI told me that if I send money to my daughter

   and grandson for them to leave that I will be breaking the law and will be considered to be

    providing material support to ISIS.

21. I do not want to support ISIS.

22. I do want to help my daughter and grandson get to the United States.

23. My daughter has communicated to me recently that she wishes to surrender to United States

    authorities. and is willing to be subject to any legal consequences under the United States

     judicial system.




Pursuant to 28 U.S.C. § 1746. l declare under penalty of perjury that the foregoing is true
correct based on my personal knowledge.



                                                                  Ahmed Ali Muthana. Declarant



                                                                                   Date Executed
